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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
SFX ENTERTAINMENT, INC., et ai.,' Case No. 16-10238 (MFW)
Debtors. (Jointly Administered)

Ref. Docket No. 682

 

ORDER EXTENDING THE EXCLUSIVE PERIODS DURING WHICH THE DEBTORS
MAY FILE AND SOLICIT ACCEPTANCES OF A PLAN OF REORGANIZATION

Upon the motion (the “Motion”)’ filed by the above-captioned debtors and debtors-
in-possession (collectively, the “Debtors”) pursuant to section 1121(d) of the Bankruptcy
Code, extending (i) the Exclusive Filing Period through and including August 29, 2016, and
(ii) the Exclusive Solicitation Period through and including October 28, 2016, and granting such
other and further relief as the Court deems just and necessary; it appearing that this Court has
jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that
venue of these Chapter 11 Cases and the Motion in this District is proper pursuant to 28 U.S.C.
§§ 1408 and 1409; and it appearing that this matter is a core proceeding pursuant to 28 U.S.C.

§ 157(b); and this Court having found that the relief requested in the Motion is in the best

 

' The Debtors in these Chapter 11 Cases, along with the last four (4) digits of each Debtor’s federal tax

identification number, if applicable, are: 430R Acquisition LLC (7350); Beatport, LLC (1024); Core Productions
LLC (3613); EZ Festivals, LLC (2693); Flavorus, Inc. (7119); ID&T/SFX Mysteryland LLC (6459); ID&T/SFX
North America LLC (5154); ID&T/SFX Q-Dance LLC (6298); ID&T/SFX Sensation LLC (6460); ID&T/SFX
Tomorrow World LLC (7238); LETMA Acquisition LLC (0452); Made Event, LLC (1127); Michigan JJ Holdings
LLC (n/a); SFX Acquisition, LLC (1063); SFX Brazil LLC (0047); SFX Canada Inc. (7070); SFX Development
LLC (2102); SFX EDM Holdings Corporation (2460); SFX Entertainment, Inc. (0047); SFX Entertainment
International, Inc. (2987); SFX Entertainment International II, Inc. (1998); SFX Intermediate Holdco I] LLC (5954);
SFX Managing Member Inc. (2428); SFX Marketing LLC (7734); SFX Platform & Sponsorship LLC (9234); SFX
Technology Services, Inc. (0402); SFX/AB Live Event Canada, Inc. (6422); SFX/AB Live Event Intermediate
Holdco LLC (8004); SFX/AB Live Event LLC (9703); SFX-94 LLC (5884); SFX-Disco Intermediate Holdco LLC
(5441); SFX-Disco Operating LLC (5441); SFXE IP LLC (0047); SFX-EMC, Inc. (7765); SFX-Hudson LLC
(0047); SFX-IDT N.A. Holding II LLC (4860); SFX-LIC Operating LLC (0950); SFX-IDT N.A. Holding LLC
(2428); SFX-Nightlife Operating LLC (4673); SFX-Perryscope LLC (4724); SFX-React Operating LLC (0584);
Spring Awakening, LLC (6390); SFXE Netherlands Holdings Codéperatief U.A. (6812); SFXE Netherlands
Holdings B.V. (6898). The Debtors’ business address is 902 Broadway, 15" Floor, New York, NY 10010.

* Capitalized terms not otherwise defined herein shall the meanings ascribed to them in the Motion.

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interests of the Debtors, their estates, their creditors and other parties in interest; and it
appearing that proper and adequate notice of the Motion has been given and that no other or
further notice is necessary; and after due deliberation thereon; and this Court having reviewed
the Motion; and good and sufficient cause appearing therefor;

IT IS HEREBY ORDERED THAT:

1, The Motion is GRANTED as set forth herein.

2. The Exclusive Filing Period for the Debtors is extended by ninety (90) days
through and including August 29, 2016.

3. The Exclusive Solicitation Period for the Debtors is extended by ninety (90) days
through and including October 28, 2016.

4, The Debtors are authorized and empowered to take all actions necessary to
implement the relief granted in this Order.

5. This Court shall retain jurisdiction with respect to all matters arising from or

relating to the interpretation or implementation of this Order.

Dated: June “Q\_, 2016

HONORABLEMARY F. WALRATH
UNITED STATES BANKRUPTCY JUDGE

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